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                               UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT

 UNITED STATES OF AMERICA                         )
                                                  )               Case No. 21-cr-00028 (APM)
 v.                                               )
                                                  )
 KENNETH HARRELSON,                               )
                                                  )
           Defendant.                             )


 RESPONSE TO UNITED STATES MOTION PRECLUDING CERTAIN ARGUMENTS
                    DURING CLOSING ARGUMENTS

COMES NOW the Defendant, Kenneth Harrelson, by and through counsel, Bradford L. Geyer,

Esq., and files his short Response and, in support, states as follows:



      1.     Ken Harrelson is an honorably discharged disabled veteran (100%).



      2.     The Government’s case has benefitted from a presumption that Mr. Harrelson was so

             animated by political passions that he engaged in sedition and attacked the Capitol to

             prevent an outcome regarding which all admitted evidence thereof suggests apathy and

             indifference.



      3.     After a stipulation failed to hold, the Court sustained an objection to introducing voting

             records of Mr. Harrelson through an agent, that arguably could have been construed as

             self-authenticating under Rule 902. Someone so animated by the political persuasive

             powers of a political figure couldn’t find the inspiration to cast a vote for that political

             figure in 2016 or 2020 (although he did cast one vote in his life in the 2018 state

             election).
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       4.       In any event, that being said, it is true that voting records have not been made part of

                the evidentiary record, so undersigned counsel is not seeking to admit extraneous

                evidence into the record.



       5.       In regards to the circumstances around the decision by Defendant Harrelson to walk up

                and approach the Columbus doors, it's reasonable to infer that early reports (false) of

                “shots fired” that were testified to by Officer Ortega1 or the attack on police at the

                Columbus Doors during the last two stanzas of the National Anthem, resulted in word

                filtering through the crowd to the Oath Keepers.



       6.       Two individuals who moments earlier had attacked police with chemicals in front of the

                Columbus Doors came down and engaged the Oath Keepers. One man, intercepted the

                Oath Keepers at the top of the stairs, and moved behind Harrelson and can be seen

                talking to him. This individual bracketed Isaacs as the crowd parted and Isaacs was

                brought towards the Columbus Doors. This can be seen on video that has been

                introduced in government exhibits.



       7.       Another man earlier trailed the Oath Keepers up the steps during the National Anthem,

                turned around, and made a double armed sweeping motion as he eventually took up

                position below the Oath Keepers during the National Anthem. He trailed the Oath

                Keepers up onto the Columbus Doors level as they investigated. This man follows the

                Oath Keepers towards and through the Columbus Doors, and in the Annex, has some

                kind of exchange with another man, in full body cloaking, who had earlier shadowed

                Harrelson and pushed Harrelson through the doors. This latter man can be seen

                entering the Capitol Plaza earlier through the Northeast barriers and was originally


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       attacking police in the West. These are all reasonable inferences that can be drawn from

       video that have been introduced as exhibits.



8.     One reasonable inference is that the Oath Keepers heard of a disturbance or were told

       about the chemical attack on police that had just occurred in front of the Columbus

       Doors. The people engaging the Oath Keepers on the steps then escorted them to the

       door as the crowd parted. This evidence is clearly visible from admitted exhibits and

       will not rely on testimony not in evidence.
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   9.      Undersigned counsel has no intention of introducing extrinsic evidence into a closing

           statement or making arguments that aren’t supportable by the evidence.




Dated: November 20, 2022                     RESPECTFULLY SUBMITTED


                                             /s/ Brad Geyer
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 20, 2022, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District of
Columbia.

                                                             /s/ Brad Geyer
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